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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                WICHITA FALLS DIVISION

 DANNY RICHARD RIVERS,                               §
                                                     §
                         Petitioner,                 §
                                                     §
 v.                                                  §
                                                     §            Civil Action No. 7:17-cv-124-O-BP
 LORIE DAVIS, Director,                              §
 Texas Department of Criminal Justice,               §
 Correctional Institutions Division,                 §
                                                     §
                         Respondent.                 §

      ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION
                OF THE UNITED STATES MAGISTRATE JUDGE

         This is a habeas action brought pursuant to 28 U.S.C. § 2254 in which Petitioner challenges

 the validity of his 2012 convictions for continuous sexual abuse of a young child, indecency with

 a child by exposure, indecency with a child by sexual contact (two counts), and possession of child

 pornography (two counts). See Trial Court Judgments, ECF No. 22-10 at 231-48 (Bates Stamped

 225-42).     The United States Magistrate Judge entered his Findings, Conclusions, and

 Recommendation in which he recommends that the petition be denied. See ECF No. 38. Objections

 were filed by Petitioner. ECF No. 43. The district court reviewed de novo those portions of the

 proposed Findings, Conclusions, and Recommendation to which objection was made, and reviewed

 the remaining proposed Findings, Conclusions, and Recommendation for plain error. Finding no

 error, I am of the opinion that the findings of fact, conclusions of law, and reasons for denial set forth

 in the Magistrate Judge’s Recommendation are correct and they are hereby adopted and incorporated

 by reference as the Findings of the Court with the following exceptions:
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         In his objections, Petitioner states that he is not confined in the Allred Unit in Iowa Park,

 Texas. Rather, he is confined in the McConnell Unit in Beeville, Texas. Based on Petitioner’s

 statement and on the return address on the envelope in which his objections were submitted, the

 Clerk of Court shall update Petitioner’s address on the docket sheet to reflect that he has moved to

 the McConnell Unit.

         Petitioner challenges the Magistrate Judge’s factual determination that no affidavits were

 produced to support Petitioner’s claim of ineffective assistance of counsel for failure to call

 additional defense witnesses. Petitioner is correct in that he filed three affidavits in support of this

 claim; the affidavits of Antonio Dino Fernandez, Misty Rodd-Finley, and Danny R. Rivers, Sr. See

 Petitioner’s Exhibits, ECF No. 27-3 at 9-11. These affidavits were also filed in the state habeas

 proceeding and were before the Texas Court of Criminal Appeals. See ECF No. 23-3 at 3-5; ECF

 No. 23-12 at 2. The state habeas court reviewed the affidavits of Petitioner’s attorneys finding them

 to be reliable and credible. See ECF No. 25-22 at 79-87. Such credibility determinations by the state

 habeas court must be afforded deference. See Carter v. Collins, 918 F.2d 1198, 202 (5th Cir. 1990)

 (“a state court may evaluate an ineffective assistance of counsel claim by making credibility

 determinations based on affidavits submitted by the petitioner and the attorney”). Findings of fact

 made by a state court on competing affidavits regarding a claim of ineffective assistance of counsel

 must be presumed correct unless the petitioner presents clear and convincing evidence to the

 contrary. See Gregory v. Thaler, 601 F.3d 347, 2010 WL 1010598, at *4 (5th Cir.2010); 28 U.S.C.

 § 2254(e)(1). Petitioner has offered no evidence other than the same affidavits that were before the




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 Court of Criminal Appeals.1 Therefore, the credibility determinations made by the state habeas court

 must be afforded deference. Coleman v. Quarterman, 456 F.3d 537, 541 (5th Cir. 2006).

        For the foregoing reasons, the petition for writ of habeas corpus is DENIED.

        SO ORDERED this 17th day of September, 2018.




                                                _____________________________________
                                                Reed O’Connor
                                                UNITED STATES DISTRICT JUDGE




        1
        The Court of Criminal Appeals’ written order denying state habeas relief is located at ECF
 No 24-13 in the instant case, and at Ex parte Rivers, Nos. WR-84,550-01 & 84,550-02, 2017 WL
 3380491 (Tex. Crim. App. June 7, 2017).

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